        Case 1:21-cr-00003-RCL Document 101 Filed 11/26/21 Page 1 of 6




                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )     Case No. 21-cr-00003 (RCL)
                                       )
JACOB CHANSLEY,                        )
                                       )
      Defendant.                       )


                MOTION FOR ADMISSION PRO HAC VICE OF
                         WILLIAM L. SHIPLEY
      Pursuant to Local Civil Rule 83.2(d), John M. Pierce, a member of the bar of

this Court and counsel for Defendant, hereby moves for the admission pro hac vice of

William L. Shipley in the above-captioned case. In support of this motion, the

undersigned states as follows:

      1. I am a member in good standing of the Bar of this Court.

      2. William L. Shipley is an attorney with Law Office of William L. Shipley &

         Associates, located at P.O. Box 745, Kailua, HI 96734. Mr. Shipley resides

         in Kailua, Hawaii where he practices remotely.

      3. As set forth in the attached declaration, William L. Shipley is an active

         member in good standing of the state bar of Hawaii (9066).

      4. William L. Shipley does not wish to be admitted generally, but for the

         purposes of this case only.

      WHEREFORE, movant respectfully requests that the Court enter an order

permitting William L. Shipley to appear pro hac vice in the above-captioned case.
       Case 1:21-cr-00003-RCL Document 101 Filed 11/26/21 Page 2 of 6



Dated: November 26, 2021                  /s/ John M. Pierce
                                   John M. Pierce
                                   355 S. Grand Avenue, 44th Floor
                                   Los Angeles, CA 90071
                                   Tel: (213) 262-9333
                                   jpierce@piercebainbridge.com

                                   Attorneys for Defendant James Burton
                                   McGrew
        Case 1:21-cr-00003-RCL Document 101 Filed 11/26/21 Page 3 of 6



                          CERTIFICATE OF SERVICE

      I hereby certify that, on November 26, 2021, this motion and the

accompany declaration was filed via the Court’s electronic filing system, which

constitutes service upon all counsel of record.

                                        /s/ John M. Pierce
                                        John M. Pierce
          Case 1:21-cr-00003-RCL Document 101 Filed 11/26/21 Page 4 of 6




                           UNITED STATES DISTRICT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )      Case No. 21-cr-00003 (RCL)
                                          )
JACOB CHANSLEY,                           )
                                          )
         Defendant.                       )

          DECLARATION OF WILLIAM L. SHIPLEY IN SUPPORT FOR
                ADMISSION TO PRACTICE PRO HAC VICE
         I, William L. Shipley, hereby certify under penalty of perjury that the following

is true and correct:


         1.    I am the managing partner with the Law Office of William L. Shipley &

Associates, located at P.O. Box 745, Kailua, HI 96734, tel: (808) 228-1341. I reside in

Kailua, Hawaii where I practice remotely.

         2.    I am an active member in good standing of the state bar of Hawaii (SBN

9066).

         3.    I am a member in good standing of all the jurisdictions in which I am

admitted to practice.

         4.    I have never been disciplined by any court, and no disciplinary

proceedings are pending against me.

         5.    During the past two years, I have applied for admission pro hac vice in

this Court only in three other matters. Those matters are United States v. James

McGrew, Crim. No. 1:21-cr-00398-BAH, United States v. Leo Brent Bozell, Crim. No.

1:21-cr-00216-JDB, and United States v. Jeffrey Sabol, Crim. No. 21-cr-00035-EGS.
        Case 1:21-cr-00003-RCL Document 101 Filed 11/26/21 Page 5 of 6




      6.     I am familiar with the Local Rules of this Court, the provisions of the

Judicial Code (Title 25 U.S.C.) which pertains to the jurisdiction of and practice in

the United States District Courts, the Federal Rules of Civil Procedure, the Federal

Rules of Evidence, the Rules of Professional Conduct as adopted by the District of

Columbia Court of Appeals, and the D.C. Bar Voluntary Standards for Civility in

Professional Conduct.


Dated: November 26, 2021
                                       s/ William L. Shipley
                                       William L. Shipley
                                       LAW OFFICE OF WILLIAM L. SHIPLEY
                                       & ASSOCIATES
                                       P.O. Box 745
                                       Kailua, HI 96734
                                       Tel: (808) 228-1341
                                       Email: 808Shipleylaw@gmail.com
          Case 1:21-cr-00003-RCL Document 101 Filed 11/26/21 Page 6 of 6




                         UNITED STATES DISTRICT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA              )
                                      )
v.                                    )     Case No. 21-cr-00003 (RCL)
                                      )
JACOB CHANSLEY,                       )
                                      )
      Defendant.                      )


                             [PROPOSED] ORDER

      Upon consideration of Defendant’s Motion for Admission Pro Hac Vice of

William L. Shipley, Law Office of William L. Shipley & Associates, it is hereby

ORDERED that the Motion is GRANTED. William L. Shipley is admitted pro hac

vice and may appear on behalf of Defendant Jacob Chansley in the above-captioned

matter.


Dated:              , 2021

                                      _________________________________
                                      United States District Judge
